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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00034-WJM

UNITED STATES OF AMERICA,
               Plaintiff,
v.

1.     MICHAEL SHAWN STEWART, and
2.     BRYANT EDWIN SEWALL,
             Defendants.
     ________________________________________________________________

         GOVERNMENT'S MOTION TO DISCLOSE GRAND JURY MATERIALS
      UNDER SPECIFIED CONDITIONS TO THE ATTORNEY FOR DEFENDANTS
                   PURSUANT TO FED. R. CRIM. P. 6(e)(3)(E)(i)
     _________________________________________________________________

       The UNITED STATES OF AMERICA, by and through Pegeen D. Rhyne,

Assistant United States Attorney, respectfully moves this Court for an Order allowing the

government to disclose copies of the transcripts of testimony given by witnesses before

a grand jury during the investigation of this case, and the accompanying exhibits, to the

attorney for the defendants and the United States Probation Office under the conditions

specified below. As grounds for this motion, the government says:

       1.      During the course of the investigation which resulted in the indictment in

this case, one or more witnesses testified before the grand jury.

       2.      Disclosure of grand jury material may be authorized pursuant to Rule

6(e)(3)(E)(i) of the Federal Rules of Criminal Procedure, which provides that, "The court

may authorize disclosure–at a time, in a manner, and subject to any other conditions

that it directs–of a grand-jury matter: (i) preliminarily to or in connection with a judicial

proceeding . . . ."




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       3.     This case is a "judicial proceeding" and the requested disclosure is "in

connection with" the proceeding.

       4.     The Government's understanding is that the usual practice of defense

counsel in this district is not to provide the defendant with copies of grand jury materials,

but instead to orally review the contents of such materials with them. As the

government understands it, this practice flows from the concern, shared by the

government and based on past events in the district, that grand jury materials might

otherwise be improperly distributed by defendants. See United States v. Jimenez, 928

F.2d 356, 359-61 (10th Cir. 1991).

       5.     Because of the nature of the materials sought to be disclosed, the timing

of the contemplated disclosure, and the possibility of loss or dissemination of copies of

the grand jury materials, the government would request that the Court further order that:

              a.     Defense counsel make only such copies as are necessary to

prepare a defense of the criminal case;

              b.     Defense counsel keep a written record concerning how many

copies were made, to whom those copies were delivered, and the date of delivery, and

that defense counsel deliver a copy of any Order allowing disclosure with the materials;

              c.     Defense counsel provide the defendants with reasonable access to

the grand jury materials, but that defense counsel not allow the defendants to retain

copies of any grand jury materials;

              d.     No person, other than defense counsel, make any copy of the

grand jury materials for any purpose; and

              e.     At the conclusion of the case in this Court, by entry of the Court's




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judgment, defense counsel collect all such copies and return them to the government

within ten days.

       6.     In the event that one or more defendants is convicted of any offense in

this matter, the Government further requests authorization to provide the above

referenced grand jury materials to the United States Probation Office (USPO) for the

limited purpose of preparing a presentence investigation report which will be filed under

restriction. The government would request that the Court further order that:

              a.     The USPO make only such copies as are necessary to prepare a

restricted presentence investigation report in this case; and

              b.     At the conclusion of the case in this Court, by entry of the Court's

judgment, the USPO will destroy all grand jury materials in a manner that will ensure

that they are not further disseminated.

       THEREFORE, the Government requests that the Court enter an Order pursuant

to Rule 6(e)(3)(E)(i) allowing disclosure of a copy of the transcripts of testimony given

by any witnesses before the grand jury, and accompanying exhibits, to the attorney for

the defendant and the USPO on the conditions described above.

       Dated this 10th day of May, 2021.

                                                 MATTHEW T. KIRSCH
                                                 Acting United States Attorney

                                                 By: s/Pegeen D. Rhyne________
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                                CERTIFICATE OF SERVICE


         I certify that on this 10th day of May, 2021, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system which will send notification of

  such filing to all counsel of record in this case.



                                              By:   s/ Kayla Keiter
                                              Legal Assistant for AUSA Pegeen D. Rhyne
                                              United States Attorney’s Office




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